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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               ) Case No.: 4:22-cr-00175-HEA-DDN
                                                 )
BRIAN KOWERT,                                    )
                                                 )
      Defendant.                                 )

                                ENTRY OF APPEARANCE

       COMES NOW Joel J Schwartz and enters his appearance on behalf of the

Defendant in the above-styled cause.




                                             Respectfully Submitted,

                                             ROSENBLUM, SCHWARTZ, & FRY


                                     By:     /s/ Joel J Schwartz
                                             JOEL J SCHWARTZ, 39066MO
                                             Attorney for Defendant
                                             120 S. Central Avenue, Suite 130
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2022, the foregoing was electronically filed with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon Hal
Goldsmith, Assistant United States Attorney.
